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IN THE UNITED sTATEs DISTRICT coURT '
FoR THE wEsTERN DISTRICT oF TENNESSEE 95 AUG 25 H b. 2
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sMITH a NEPHEW, INC. , Vv/°L‘Ju.'- ; j\;-;.§_qu;S
Plaintiff,
v. No. 02-2873 Ma/A

SYNTHES (U.S.A.) and SYNTHES-
STRATEC, INC.,

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Defendants.

 

MEMORANDUM OPINION
FINDINGS OF FACT AND CONCLUSIONS OF LAW

 

On November 13, 2002, Plaintiff Smith & Nephew, Inc. (“Smith
& Nephew”) sued the Defendants for infringement of two patents,
U.S. Patent NO. 5,167,663 (“the ‘663 patent”) and U.S. Patent NO.
5,312,406 (“the ‘406 patent”). The court held a patent
construction hearing under Markman V. Westview Instruments, Inc.,
52 F.3c1 967 (Fed. Cir. 1995), Lf_f_d, 517 U.s. 370 (1996), on May
14, 2004, and entered an order construing the disputed patent terms
on August 26, 2004. The case was tried discontinuously without a
jury, beginning December 6, 2004, and ending March 4, 2005. As
required by Rule 52 of the Federal Rules of Civil Procedure, the
court sets forth its findings of facts and conclusions of law from

that trial.

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I. Background

Plaintiff Smith. & Nephew brings this action for patent
infringement against Defendants Synthes (U.S.A.) and Synthes-
Stratec, Inc. (collectively “Synthes”) under 35 U.S.C. § 1, mt §§g.
Both of the patents in this case, as well as their ancestors,
relate to the treatment of femoral fractures through the use of an
intramedullary nail which allows for sliding compression.1 David
L. Brumfield filed United States Patent Application No. 947,656 on
December 30, 1986. U.S. Patent No. 5,167,663. That application
resulted in the issuance of U.S. Patent No. 4,827,917 for a femoral
fracture device. ld; Patent Application. No. 697,155 was a
continuation-in-part of Patent Application.No. 337,191 (abandoned),
which was itself a continuation-in-part of Application.No. 947,656.
ld; That application resulted in the issuance of U.S. Patent No.
5,167,663 (“the ‘663 patent”) for a femoral fracture devioe. lg;
Patent Application No. 983,831 was a divisional application of Co-
pending Patent Application No. 07/697,155. U.S. Patent No.
5,312,406. Brumfield’s Application No. 983,831 resulted in the
issuance of U.S. Patent No. 5,312,406 (“the ‘406 patent”) for a
method of treating an intertrochanteric fracture.2 ld; Brumfield

assigned both of the patents at issue to Smith & Nephew.

 

1 “Medulla" is defined as “bone marrow.” Merriam-Webster's Colleqiate

Dictionary 771 (11th Ed. 2003). An intramedullary nail/rod is one that is
used within the marrow cavity of bone.

2“Trochanter” is defined as “a rough prominence at the upper part of
the femur . .." Merriam-Webster's Collegiate Dictionary 1340 (11th Ed. 2003) .

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Smith & Nephew asserts infringement of the following claims
from the ‘663 patent:

1. Apparatus for treating fractures of the femur
comprising:

a) a hollowed intramedullary' rod having a
longitudinal axis and a rod sidewall that surrounds
a longitudinal bore, said rod having a pmoximal
head and a stem distal thereto, and wherein the
sten1 and. a substantial portion. of the head are
adapted in use for insertion into the narrow canal
of a femur;

b) the rod sidewall having a first, generally
uniform smaller wall thickness defining the stem,
and a second, larger wall thickness defining the
head;

c) said head having a first smooth opening
extending therethrough in an angled direction
relative to the rod is in position within the
marrow canal of the femur, the opening is
positioned to intersect the longitudinal axis of
the rod, and the axis of said opening is directed
toward the head of the femur;

d) a first screw for insertion through said first
opening in said head and including first and second
end portions;

e) said first screw having a threaded surface
formed at the first end adapted in use to engage
bone tissue of the head and including first and
second end portions;

f) wherein said threaded section is spaced from the
first opening during use for maintaining continuous
sliding contact between said head of said rod and
the first screw, to permit sliding compression of
the selected fracture.

2. Apparatus as recited in claim 1 which further
comprises:

means associated with said rod for preventing
rotation of the head of the femur relative to said

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first screw.
3. Apparatus as recited in claim 2 wherein:

said head has a second opening extending
therethrough in an angled direction relative to the
longitudinal axis of said rod, the axis of said
second opening being generally parallel with the
axis of said first opening; and

said means for preventing rotation comprises a
second screw having a threaded end and a smooth
surface along the remaining major portion of its
length, said smooth surface being adapted in use
for sliding contact with said head of said rod
through said second opening.

5. The apparatus of claim 3 wherein the first and second
openings have smooth surfaces that engage corresponding
smooth surfaces of the first screw and the rotation
preventing means respectively.

U.S. Patent No. 5,167,663, Column 8:4-57.
Smith & Nephew asserts infringement of the following claims
within the ‘406 patent:

l. A method of treating an intertrochanteric fracture of
a patient's femur that is located generally between the
head of the femur and the intramedullary canal,
comprising the steps of:

a) inserting an elongated intramedullary rod having
a longitudinal axis into the patient's femur,
wherein the rod has a distal stem portion, a head
having a first smooth opening extending
therethrough in an angled direction relative to the
longitudinal axis of said rod such that when said
rod is in position within the intramedullary canal
of the femur, the opening is positioned to
intersect the longitudinal axis of the rod, and the
axis of said opening is directed toward the head of
the femur;

b) positioning the rod so that the axis of the
smooth opening extends across the fracture and into
the head of the femur;

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c) inserting a first screw through said first
opening in said head and including first and second
end portions;

d) said first screw having a threaded surface
formed at the first end adapted in use to engage
bone tissue of the head of the femur;

e) compressing the fracture using the bone screw
while maintaining continuous sliding contact
between the bone screw and the rod at the smooth
opening;

f) wherein said threaded section is spaced from the
first opening during use for maintaining continuous
sliding contact between said head of said rod and
the first screw, to permit sliding compression of
the selected fracture; and

g) wherein in step “f” the cross section of the
smooth opening closely conforms to the cross
section of the screw so that the smooth opening
rigidly affixes the screw in a single angular
position relative to the rod, along said axis.

2. The method of clainl 1 wherein in step “e”, the
threaded section of the bone screw is spaced away from
the opening during compressing of the fracture.

3. The method of claim 1 wherein in step “e”, the opening
and the smooth surface of the bone screw are each
cylindrically shaped.

5. The method of claim 1 wherein step “a”, the head of
the intramedullary rod has a pair of smooth openings that
are spaced apart and each opening extending through the
intramedullary rod in an angled direction relative to the
longitudinal axis of the rod and in step “c”, first and
second screws are inserted respectively through the
openings in the head, each of the screws including first
and second end portions, and in step “d”, the pair of
screws each provide threaded surfaces formed respectively
at the first end portion of each screw adapted and used
to engage bone tissue of the head of the femur.

6. The method of claim 1 wherein in step “a”, the head
portion of the rod has a pair of spaced apart, smooth
openings extending through the head of the rod in an

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angled direction relative to the longitudinal axis of the

rod and one of the openings has a greater diameter than

the other of the openings.

7. The method of claim 6 wherein in step “c”, a pair of

screws are inserted respectively through the pair of

openings in the head, each screw including first and
second end portions.

9. The method of clain\ 1 wherein in step “a”, the

elongated intramedullary' rod. has a longitudinal bore

surrounded by an intramedullary rod side wall, and the

side wall of the rod is thicker at the head than the side

wall of the rod at the distal stem.

U.S. Patent No. 5,312,406, Column 7;63-8:36.

Smith & Nephew claims infringement by two of Synthes’s
products, the Trochanteric Fixation Nail (“TFN”) and the Proximal
Femoral Nail (“PFN”). The TFN is an intramedullary implant
designed to treat fractures of the femur. It consists of an
intramedullary nail through which a cross-member known as a Helical
Blade is inserted. The intramedullary nail of the TFN includes a
wide upper portion and a narrowed lower portion that is designed to
be implanted in the medullary canal of the femur. The TFN is
available in a rumber of different versions, according to the
length and diameter of the “stem” of the intramedullary nail, with
the longer versions having a “fluted” stem resembling the bit of a
Phillips head screw driver.3

The PFN is also an intramedullary implant designed to treat

fractures of the femur. It consists of an intramedullary nail

 

3This analogy is not perfect. The TFN has six outer “points” along the
circumference of the stem, where a Phillips screwdriver has only four.

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portion that is inserted into the medullary canal of a femur and
two lag screws that pass through the intramedullary nail and into
the femoral head. The “standard” version of the PFN is 240 mm
long, and the “long” PFN is available in lengths of 340mm, 380 mm,
and 420 mm. The illustration presented in the PFN Guide does not
indicate that the stem of the Long PFN is fluted.
II. Validity

As an affirmative defense, the Defendants argue that the
asserted patents are invalid under various legal theories. Because
the existence of a valid patent is a necessary precondition to a
successful claim of infringement, the court will address the
question of validity first. A patent is presumed valid, and the
burden of proving otherwise rests solely on the party asserting
invalidity. 35 U.S.C. § 282; Ralston Purina Co. v. Far-Mar-Co.
l_I_J.L, 772 F.2d l570, 1573 (Fed. Cir. 1985); W.L. Gore & Assoc.,
Inc. v. Garlock, Inc., 721 F.2d 1540, 1553 (Fed. Cir. 1983).

A. 35 U.S.C. § 112

Federal law requires that a patent specification “contain a
written description of the invention, and of the manner and process
of making and using it, in such full, clear, precise, and exact
terms as to enable any person skilled in the art to which it
pertains, or with which it is most nearly connected, to make and
use the same, and shall set forth the best mode contemplated by the

inventor of carrying out his invention.” 35 U.S.C. § 112. The

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Defendants sought to prove at trial 1) that the application for
parent Patent No. 4,827,917 does not sufficiently describe the
inventions claimed in the ‘406 and ‘663 patents so as to entitle
them to its earlier filing date, 2) that the ‘406 and ‘663
specifications do not adequately enable one skilled in the art to
practice the claimed inventions, and 3) that the ‘406 and ‘663
specifications do not set out the best mode for practicing the
inventions as contemplated by the inventor. Where a party
challenges the validity of a patent under 35 U.S.C. § 112, that
party must establish invalidity by clear and convincing evidence.
_ee Ralston Purina, 772 F.2d at 1574; Pennwalt Corb. v. Akzona
§Q;Q;, 740 F.2d 1573, 1578-79 (Fed. Cir. 1984).
1. Written Description in the ‘917 Application

On December 30, 1986, U.S. Patent Application Serial No.
06/947,656 was filed, which issued as U.S. Patent No. 4,827,917.
(the “‘917 application” or “‘917 patent,” as appropriate). On
April 12, 1989, the patentees filed `U.S. Continuation~in-Part
Application Serial No. 07/337,191 (the “‘191 CIP application”),
which was a continuation-in-part of the ‘917 application and which
both parties concede is a predecessor to the ‘663 and ‘406 patents.

In 1987, the Russell-Taylor Reconstruction Nail (“Recon
Nail”), an intramedullary rod with two openings in the head to
receive screws that provide sliding compression, was placed on the

market for sale, and a technique guide (“Russell-Taylor brochure”)

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was published describing the use of that device to treat femoral
fractures. Synthes contends that the Russell-Taylor brochure and
the Recon Nail anticipate the asserted claims in the ‘406 and ‘663
patents. Synthes further argues that the ‘191 CIP application was
the first disclosure of those claims in patent documents and that
April 12, 1989, is therefore the first date upon which Smith &
Nephew can claim priority for the asserted claims.4

Because the Recon Nail was on sale, and the Russell-Taylor
brochure in publication, more than one year before the ‘191 CIP
application was filed, Synthes argues that the asserted claims are

invalid under 35 U.S.C. § 102(b)(“A person shall be entitled to a
patent unless ... the invention was patented or described in a
printed publication in this or a foreign country or in public use
or on sale in this country, more than one year prior to the date of
the application for patent in the United States”). Smith & Nephew
contends that the prior ‘917 application, not the ‘191 CIP

application, first disclosed the claims asserted in this case.

The first paragraph of 35 U.S.C. § 112 provides that “[t]he
specification shall contain a written description of the invention,
and of the manner and process of making and using it, in such full,
clear, concise, and exact terms as to enable any person skilled in
the art to which it pertains, or with which it is most nearly

connected, to make and use the same ....” For purposes of claiming

 

4 The corollary of this argument is that the original ‘917 application
did not disclose the patent claims asserted in this case.

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priority under a previous patent application, 35 U.S.C. § 120
provides that “[a]n application for patent for an invention
disclosed in the manner provided by the first paragraph of section
112 of this title in an application previously filed in the United
States ... shall have the same effect, as to such invention, as
though filed on the date of the prior application ....” Thus, the
first question before the court affecting the validity of the
patent is whether, under 35 U.S.C. § 112, the asserted claims were

disclosed in the earlier ‘917 application.

For purposes of priority under 35 U.S.C. § 112, a
specification in a parent patent or patent application adequately
describes an invention if it “reasonably convey[s] to one of skill
in the art that the inventor possessed the later-claimed subject
matter at the time the parent application was filed." Tronzo v.
Biometl Inc., 156 F.3d 1154, 1158 (Fed, Cir. 1998)(citing Vas-Cathc

Inc. v. Mahurkar, 935 F.2d 1555, 1563 (Fed. Cir. 1991)).

The abstract of the ‘917 application describes “at least a
proximal pair of coaxial holes and a distal pair of coaxial holes
in the head of the rod in an angled direction toward the femoral
head relative to the longitudinal axis of the rod.” (‘917 App. at
19)(emphasis added.) Additionallyy a description of the preferred
embodiments states that “[t]he head 22 includes at least two pairs
of holes...” (Id. at 8)(emphasis added). The ‘917 patent which
eventually issued contains ten claims, all of which require the

head to have “at least a distal pair of head holes and a proximal

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pair of holes.” U.S. Patent No. 4,827,917, Column 7:49-51. Synthes
sought to prove at trial that this language discloses a head that
must have at least two pairs of openings. The ‘917 application
does not, according to Synthes, disclose a device, such as that
claimed in the ‘406 and ‘663 patents, which has only a single pair
of openings. Thus, Synthes argues, the ‘917 application did not
reasonably convey to one skilled in the art that the inventor was
in possession of a device that contained only one proximal pair of

holes.

After careful review of the testimony and documentary
submissions, the court concludes that Synthes has not offered clear
and convincing evidence that the ‘917 applicant did not possess an
intramedullary rod with a single pair of holes. lt is well
established that “disclosure of a species may be sufficient written
description. support for a later claimed genus including that
species.” Bilstad v. Wakalopulos, 386 F.3d 1116, 1124 (Fed. Cir.
2004). That is especially the case when, as here, there exists a
“degree of predictability of technical variations in [the] field of
art.” ld; at 1126. The prior art submitted with the ‘917
application contains several devices featuring only one proximal
pair of holes, and the ability to treat femoral neck fractures with

a device employing one proximal pair of holes was well known.5 (TX

 

5 The court recognizes that recitation of the prior art alone is

insufficient to fulfill the written description requirement. gee Tronzo, 156
F.3d at 1159. Here, prior art demonstrates the general state and
predictability of the art, and unlike the plaintiff in Tronzo, there was no
attempt to distinguish as inferior what is now being claimed (the one-pair
design) . Se£ Eé

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22, 127; Tr. 268:5~25.)6 Thus, it can reasonably be assumed that
an inventor who discloses a device with two pairs of proximal holes

possesses a device with one proximal pair.

A device with two pairs of holes must necessarily contain one
pair of holes. Synthes has not shown by clear and convincing
evidence that the second proximal pair of holes was so integral to
the structure or function of the described invention that the maker
of that invention did not also possess a device with a single pair
of holes. Synthes concedes that the ‘917 invention could be used
with only one proximal screw and that the second proximal screw was
optional. Synthes argues, however, that the ‘917 application
sought to teach away from a single-pair device by stressing the
benefits of a “universal” invention. The evidence at trial shows
that the universal attributes of the ‘917 invention lay in its
combination of the techniques of intramedullary fixation and
sliding compression. The second proximal screw was intended to
provide an optional anchor against rotation of the femoral head; it
was considered unnecessary in treating the many types of femoral
fractures where risk of rotation was nonexistent or minimal. (Tr.
236:12-237:19; 2146:19-2148:1). Further, as of the filing of the
‘917 application, devices featuring a second or supplementary screw

already existed. (Tr. 268:5-25). Thus, the option of using the

 

6 For purposes of this order, the court will cite the trial exhibits as
“TX” and the transcript as “Tr.” As to the prevalence of single-pair femoral
devices, if the ‘917 applicant had sought to distinguish the attributes of a
two-pair device from the shortcomings of the single-pair prior art, Smith &
Nephew would be precluded from asserting that the ‘917 specification covers a
one-pair device. The court will address that issue below.

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second proximal screw was not what rendered the ‘917 invention

“universal” as compared to the prior art.

That the language of the ‘917 specification speaks of a device
containing at least two pairs of proximal holes is not
inconsequential. The issue, however, is what the specification
would convey to one skilled in the art; the disclosure need not
provide in haag y§;ba support for the later-claimed subject matter.
See Lampi Corp. v. American Power Products, Inc., 228 F.3d 1365,
1378 (Fed. Cir. 2000). Thus, the mere fact that the specification
discloses “at least two” proximal pairs of holes does not show, in
light of the evidence adduced at trial, that the applicant did not
possess an invention with only one proximal pair of holes. Rather,
the court finds that the facts of this case are similar to the
situation in Lampi, where a specification describing a flourescent
lamp with two identical housing half~shells was held to provide
support for patent claims encompassing non-identical half-shells,
when the shape of the half-shells was “not critical to the

invention.” Id.

Applicable authority stresses the “fact-specificity" of the

written-description issue and, therefore, the limited precedential

value of decisions in that area. Seel e.g., Vas»Cath, 935 F.2d at
1562; In re Driscoll, 562 F.2d 1245, 1250 (C.C.P.A. 1977). Even

so, the court does not find the authority' cited by Synthes
persuasive. In In re Barker, 559 F.2d 588 (C.C.P.A. 1972), the

court found that a disclosure of a prefabricated roof panel large

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enough to hold eight shingles did not adequately support a
subsequent claim covering aa smaller panel containing six roof
shingles. The court rejected the argument that an eight-shingle
pattern inherently encompassed a pattern. using fewer shingles
because the panel size and the number and pattern of shingles were
uniquely tied to each other and the specification disclosed a
repeated pattern of eight shingles. ;QL at 593. Thus, because the
minimum number of shingles was an integral part of the described
invention, a pattern consisting of fewer shingles was not
inherently disclosed. Likewise, in In re Jones, 10 Fed. Appx. 822,
2001 WL 267053 (Fed. Cir. 2001), a specification describing open-
ended helical channels on the surface of dental implants was held
not to describe sufficiently helical channels with closed ends, in
part because the applicant's description suggested that “closing
the helical channel ends would cause his invention not to work.”7

Id. at *5.

In this case, Synthes has not sufficiently shown that the
second proximal pair of holes constitutes an integral element of
the invention described in the ‘917 application or otherwise
provides a functional advantage over prior art. The two-pair
device is merely one species of a broader genus including devices
with one and two pairs of holes. Thus, the ‘406 and ‘663 patents
are entitled to the filing date of the ‘917 application1 and

Synthes has not shown that the patents in suit should be held

 

TThe Jones decision also states explicitly that it is not to be cited
as precedent.

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invalid.
2. Enablement

A patent specification must disclose the claimed invention in
a manner clear enough “to enable any person skilled in the art to
which it pertains, or with which it is most nearly connected, to
make and use the [invention].” 35 U.S.C. § 112. Synthes sought to
show at trial that the patents in suit are not sufficiently
specific to enable one skilled in the art to practice the claimed
invention. Synthes offers the testimony of Anthony James to the
effect that “a good deal of experimentation would be required to
construct a device according to the Brumfield patents.” (Tr.
1839:9-20). In particular, Synthes cites evidence that the
inventor, David Brumfield, tested the Recon Nail for several years
and determined optimal design and structural characteristics
necessary to practice the best mode of the claimed inventions, but
failed to disclose those specifications, in violation of 35 U.S.C.

§ 112.

“[A] patent need not teach, and preferably omits, what is well
known in the art.” Hybritech, Inc. v. Monoclonal Antibodies, Inc.,
802 F.2d 1367, 1384 (Fed. Cir. 1986). The specification fails the
enablement requirement only' if practicing the invention. would
require “undue experimentation.” In re Wands, 858 F.2d 731, 737
(Fed. Cir. 1988). Smith a Nephew offered evidence showing that the
general technique for treating a fracture through sliding

compression, including anatomic and material constraints, was well

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known in the industry. (Tr. 3072:15-3073:22) A failure to include
numerical specifications for achieving sliding compression,
therefore, is not a violation. of the enablement requirement.
Further, James testified that the level of experimentation required
to practice the claimed inventions would not be undue. (Tr. 3502:7-
3503:17). Thus, Synthes has failed to show by clear and convincing
evidence that the patent is invalid for failure to enable one

skilled in the art to practice the claimed invention.
3. Best Mode

A patent specification must “set forth the best mode
contemplated by the inventor of carrying out his invention.” 35
U.S.C. § 112. Synthes sought to show that Brumfield, the inventor
of the patents in suit, had finalized design specifications
including materials, sizes, and angles, before he submitted the
‘917 application. (TX 110; Tr. 1822:3-11, 1822:25-1823:2, 1825:10-
1826:9, 1827:2401828:2, 1828:19-21). Synthes contends that failure
to disclose the specifications for the Recon Nail in the ‘917
application amounted to a failure to satisfy the best-mode
requirement of 35 U.S.C. § 112. “Patent invalidity for failure to
set forth the best mode requires that 1) the inventors knew of a
better mode of carrying out the claimed invention than they
disclosed in the specification, and 2) the inventors concealed that
better mode.” Engel Industries, Inc. v. Lockformer Co., 946 F.2d

1528, 1532 (Fed. Cir. 1991).

Synthes has not shown by clear and convincing evidence that

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Brumfield concealed the best method for practicing the ‘917
invention. Brumfield testified to his belief at the time of
invention that those skilled in the art of femoral fracture
fixation would be familiar with the anatomic geometry of the femur,
the prior art devices, the function they played in treating
fractures, the readily available materials to use in making the
device, the tradeoffs between size of the screw, hole, and nail,
and the type and size of screw/nail. (Tr. 3073:25-3075:22).
Additionally, the production drawings that he had made at that time
were sent to patent counsel to be included in the supporting
documentation for the patent application. (TX 168; Tr. 2961:11-
2962:9). That the ‘917 application did not disclose the precise
specifications eventually used for the production of the Recon Nail
does not mean that the applicant concealed the best mode for
practicing his invention. gee Engel Industries, 946 F.2d at 1532
(“a patent disclosure is not a ‘production specification,'... and

technical details apparent to a person of ordinary skill need
not be included in the patent specification”). Thus, Synthes has
not established that the ‘917 specification concealed a better

mode of practicing Brumfield's invention.
B. 35 U.S.C. § 102-03 (Nbvelty and Obviousness)

In addition to its objections to the ‘917 specification,
Synthes contends that the ‘663 and ‘406 patents are invalid because
their claims are anticipated or rendered obvious by the prior art.

“A party asserting that a patent claim is anticipated under 35

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U.S.C. § 102 must demonstrate, among other things, identity of
invention.” Minnesota. Mininq & lwanufacturing Co. v. Johnson &
Johnson Orthopaedics. Inc., 976 F.2d 1559, 1565 (Fed. Cir.
1992)(internal quotations omitted). Anticipation under 35 U.S.C.
§ 102 requires that a single piece of prior art contain each and
every limitation of the patented invention either expressly or
inherently. Transclean.Corp. v. Bridqewood Services. Inc., 290 F.3d

1364, 1370 (Fed. Cir. 2002).

Where no single piece of prior art contains every limitation
in an issued patent, the patent may still be invalidated as obvious
under 35 U.S.C. § 103, by reference to multiple pieces of prior
art. See Continental Can Co. USA, Inc. v. Monsanto Co., 948 F.2d
1264, 1267 (Fed. Cir. 1991). ln determining obviousness, the
invention must be considered as a whole, without the benefit of
hindsight, and the claims must be considered in their entirety. §§§
Medtronic, Inc. v. Cardiac Pacemakers, Inc., 721 F.2d 1563, 1567
(Fed. Cir. 1983); W.L. Fore & Assocs. v. Garlock, Inc., 721 F.2d
1540, 1551 (Fed. Cir. 1983). “Focusing <xi the obviousness of
substitutions and differences, instead of on the invention as a
whole, is a legally improper way to simplify the difficult
determination of obviousness.” Gillette Co. v. S.C. Johnson & Son,
;QQL, 919 F.2d 720, 724 (Fed. Cir. 1990); Hvbritech, Inc. v.
Monoclonal Antibodies. Inc., 802 F.2d 1367, 1383 (Fed. Cir. 1986).
Synthes sought to prove that the patents in suit were anticipated

or rendered obvious by one or more of the following inventions.

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1. Huckstep Nail

Synthes argues that two different versions of the invention
known as the Huckstep Nail anticipate and/or render obvious the
patents in suit. Both versions of the Huckstep Nail are roughly
square in cross-section, with rounded edges. Both have multiple
transverse openings along their length for the placement of screws.
The proximal portions of both Huckstep Nails have four oblique
smooth openings that are set at an angle of about 130 degrees to
the longitudinal axis of the rod and are directed towards the
femoral head when implanted in the intramedullary canal. (TX 23;
Tr. 1081:5-17, 2477:16-2478:1). Both the standard and bulbous
Huckstep Nail use partially threaded titanium lag screws which are
inserted through the oblique openings in the head of the
intramedullary rod, through the femoral neck and into the femoral
head. (TX 26, 27; Tr. 1081:5-17, 3215:13-25). Both versions of the
Nail, as well as the lag screws used with them, are made from a

titanium alloy. (TX 27; Tr. 2479:24-2483:9).
a. Standard Huckstep

The Standard. Huckstep was included in the Downs Surgical
Brochure and considered by the Patent Office during prosecution of
the ‘406 and ‘663 patents. The Huckstep Nail was designed for
“rigid fixation,” to enable early patient weight~bearing, and none

of the available Huckstep literature describes sliding

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compression.E (See TX 24, 25, 26, 27, 28; Tr. 316:14-21, 1352:21-
1353:5, 1357:17-25, 1363:23-1364:3, 2169:19-24). The Shanks Of the
4.5 mm lag screws in the Huckstep Nail are slightly narrower than
the holes through which the screws are threaded. (TX 25; Tr.
2300:20-2301:7). Thus, unlike the patents in suit, there is no
closely conforming fit that provides for continuous contact, as
would be necessary to achieve sliding compression. Therefore, the
downward forces exerted on the femoral head create a risk that the
screw will bind or bend, rather than slide in a direction parallel

to the proximal openings. (Tr. 2172:7-24, 3018:24-3019:11).

Synthes cites studies of the Huckstep Nail that show certain
instances in which the treated fractures did, in fact, compress in
a direction parallel to the 4.5 mm lag screws, as would occur with
a device intended to achieve sliding compression. These few
instances, however, do not show that the compression was caused or
aided by the physical structure of the Huckstep Nail. Testimony of
a surgeon who had experience using the Standard Huckstep to treat
femoral fractures indicates that he experienced varus maluniong in
a significant percentage of his cases and found that the 4.5 mm

screws moved excessively within the proximal openings. (TX 25; Tr.

 

8Synthes is correct in arguing that actual use of the phrase “sliding
compression" is not dispositive, as it is unclear whether that phrase has been
used to describe any products other than those marketed by Smith & Nephew.
The cited literature, however, does not describe the physical process by which
the proximal screw is intended to slide through the intramedullary rod,
allowing femoral bone fragments to be squeezed together.

9“Varus malunion” is a condition in which weight-bearing forces cause
the femoral head to heal in an abnormally low position. Sliding compression
is a technique that helps to prevent varus malunion.

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2300:20-2301:7). Given the evidence adduced at trial, Synthes has
not shown that the fractures healed in the manner normally achieved
by sliding compression because of the configuration of the Standard
Huckstep. See Eibel Process Co. v. Minn. & Ontario Paper Co., 261
U.S. 45, 66 (1923)(“accidental results, not intended and not

appreciated, do not constitute anticipation”).

Synthes has, therefore, failed to show by clear and convincing
evidence that it would have been obvious to modify the Standard
Huckstep to achieve sliding compression. The invention and
accompanying literature made no suggestion of sliding compression
as an objective or possible use of the Huckstep invention.
Although sliding compression was a known method of treating certain
femoral fractures, the Huckstep Nail did not employ sliding
compression to treat femoral fractures. Thus, the court cannot
conclude that the Standard Huckstep anticipates or renders obvious
the technique of sliding compression claimed in the patents in

suit.

In addition to sliding compression, the patents in suit
provide for an intramedullary rod that is longitudinally hollow, or
“cannulated.” The Huckstep Nail is solid, with transverse holes
throughout its length. (TX 23). Synthes argues that, in addition
to the modifications necessary to achieve sliding compression, it
would have been obvious to one skilled in the art to cannulate the
Standard Huckstep. Cannulation of an intramedullary rod is

necessary to insert the rod over a guide wire, as part of the

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“closed” insertion technique, which was well known in the industry
when the patents in suit were filed and when Dr. Huckstep invented
the Nail. (Tr. ll44:22-ll45:8, 2548:18-2549:3, 2554:25-2555:20).
It was believed that cannulation of the Standard Huckstep, however,
would have significantly weakened the device, and the invention and
accompanying literature stressed the importance of strength for
early patient weight-bearing. (Tr. 274:25-2167:3, 483:3-484:27,
2159:22-2160:13, 2166:25-2167:20). Because of the numerous
transverse holes, cannulation also carried the risk that the rod
would bend or break more easily at the site of one of the holes.
(Tr. 484:8-24, 2159:22-2160:13, 2163:14~2164:5, 2768:17-2770:2,

3267:9-3269:10).

Considering this information and viewing each invention as a
whole, Synthes has not demonstrated that it would have been obvious
to one skilled in the art to modify the Standard Huckstep Nail to
achieve sliding compression. In important respects, the structure
and objectives of the Standard Huckstep suggest against the
modifications suggested by Synthes, and there is significant
evidence that those modifications would have been undesirable or
unfeasible. Thus, the patents in suit are not anticipated or

rendered obvious in light of the Standard Huckstep Nail.
b. Bulbous Huckstep

The Bulbous Huckstep Nail is a variation on the Standard
Huckstep Nail. The Bulbous Huckstep has an enlarged proximal

portion to accommodate larger openings for wider lag screws. (Tr.

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1357:7-10). Although the lag screws used with the Bulbous Huckstep
have a wider threaded portion, their shank is of equal or smaller
size than those used in the Standard Huckstep. (TX 27; Tr. 318:10-
15, l354:24-l355:2, 1356:1-6, 2183:18-24, 3253:21-3255:1). ThuS,
the same risk of binding or bending is present in the Bulbous
Huckstep. Additionally, the same factors that make cannulation of
the Standard Huckstep undesirable apply to the Bulbous Huckstep.
(See TX 27). The patents in suit, therefore, are not anticipated

or rendered obvious by the Bulbous Huckstep Nail.
2. Zickel Nail

The Zickel Nail is a solid (non_cannulated) intramedullary rod
with a generally square lateral cross section. The Zickel Nail
includes a “tri-flange” cross nail that extends into the femoral
neck. The tri-flange nail has no helical threads; it is held in
position using a locking set screw to prevent it from backing out.
(TX 34; Tr. 421:9-11, 1243:15-19, 1281:16-22, 1788:19-1789:1). In
addition, the Zickel Nail is curved in such a way as to make it
difficult to insert into and remove from the femoral shaft. (Tr.

1263:20-1263:25, 1264:1-5, 2816:24-2817-20).
a. Original Zickel Nail

The Zickel Nail's locking screw prevents the cross nail from
sliding. The device, therefore, is indicated only for
subtrochanteric fractures. It was not intended to be used in
treating intertrochanteric or femoral neck fractures. (Tr. 2344:25-

2345:14). Further, the unique curvature of the Zickel Nail

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presented potential difficulties for cannulation. (Tr. 499:25-
500:14, 2649:23-2650:16). These facts clearly suggest against the
modifications proffered.by Synthes. Thus, the original Zickel Nail

does not anticipate or render obvious the patents in suit.
b. Dennis Modified Zickel Nail

Dr. Robert Dennis modified the Zickel Nail by replacing the
triflange cross nail with a standard compression lag screw, to
allow sliding compression of intertrochanteric and femoral neck
fractures. (Tr. 1147:15-19, 1148:14~1149:4, 2651:5~21). Unlike the
‘406 and ‘663 inventions, Dennis intended for a sleeve to surround
the proximal lag screw, mimicking the structure of the conventional
Richards compression screw. Although Dennis experimented on
cadavers with a prototype that did not contain the sleeve (and thus
maintained continuous contact between the screw and the proximal
hole as provided in the patents in suit), all of the devices that
were implanted in actual patients contained the sleeve, because
Dennis felt that a sleeve was necessary to permit sliding of the

proximal lag screw. (Tr. 2415:17-2416:8).

That the inventor of the Dennis Modified Zickel Nail
experimented with a version of the device that worked without a
sleeve and ultimately decided against using the non-sleeve version
suggests that elimination of the sleeve was not a desirable
modification. Further, Dennis's modification contains the same
angular curvature as the original version of the Zickel nail,

making the additional element of cannulation no more obvious or

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desirable than for the original Zickel Nail. (TX 76; Tr. 1249:25-
1250:8, 1277:6-9, 3035:20~3036:5). Thus, Synthes has failed to
show by clear and convincing evidence that the patents in suit were
anticipated or rendered obvious by either version of the Zickel

Nail.
3. Marcus Patent

The Marcus patent discloses a cannulated intramedullary rod
having a head with a sidewall thickness greater than the sidewall
thickness of its stem. The disclosed device contains pairs of
openings whose axes cross to allow screws to be inserted in a
variety of different directions. (See TX. 77). The Patent Office
considered the Marcus patent during prosecution of the ‘663 and
‘406 patents. The Patent Office initially' rejected. the ‘663
application in light of the Marcus patent, and certain amendments
were made specifically to overcome the Marcus reference. The ‘663
applicant had a conversation with the Examiner on February 21,
1992, after which the Examiner noted that “Applicant has agreed to
amend the scope of the claims to more fully describe the proximal
portion to emphasize the coaxial bores and thickened wall portion
for better sliding.” (Undisputed Facts 6.46). The amendments made
in response to the Examiner's statement emphasize the thickened
head portion of the intramedullary rod in the ‘663 patent. (U.F.

6.49).

The device disclosed in the Marcus patent possesses holes,

each of which is able to accept multiple screws positioned at

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different angles. Because each hole must accommodate multiple
screw paths, the screws for insertion into the femoral head would
be supported by a “knife edge,” rather than a smooth surface that
conforms with the cross section of the proximal screw. (TX 20, Col.
8:28-32; TX 21, COl. 8:21-25; Tr. 3045:16-3046:25, 3298:11-21).
This configuration is not conducive to sliding compression and
fails to conform with at least element 1(c) of the ‘663 patent and

element 1(g) of the ‘406 patent.

The specification of the Marcus patent discloses a method to
achieve conformity between the opening in the rod and the screw by
reaming the opening in the direction of the axis along which the
screw will be inserted. (TX 77, Col. 8:12-17; Tr. 2566:16-2568:1).
That the specification anticipated the need for such a modification
demonstrates that the required feature does not inhere in the
structure of the device. Rather, the need to accommodate screws
from multiple angles prevents the Marcus device from possessing
proximal holes with smooth openings that closely conform with the
screws angled into the femoral head. Because a nmltiple-screw
feature is an integral element of the device, the Marcus patent

teaches away from modification to conform with the asserted

patents. See Gillette Co. v. S.C. Johnson & Sonl Inc., 919 F.2d
720, 724 (Fed. Cir. 1990). Thus, viewing the asserted claims as a

whole, Synthes has not offered clear and convincing evidence that

they are anticipated or rendered obvious by the Marcus patent.

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4. German Utility Model

Smith & Nephew concedes that the German Utility Model
(“Gebrauchsmuster”) shows every element of claim 1 of the ‘663
patent and claim 1 of the ‘406 patent, but argues that it is not
prior art for purposes of this lawsuit. Neither party disputes
that the German Utility Model became public for purposes of
priority on October 9, 1986. Smith & Nephew contends that the date
of invention was no later than August 12, 1986, and that the
patents in suit should be entitled to priority as of that date. To
establish its existence as prior art, Synthes must show by clear
and convincing evidence that the German Utility Model was made
public before Brumfield’s invention date. See Mahurkar v. C.R.
Bardc Inc., 79 F.3d 1572, 1578 (Fed. Cir. 1996); Loral Fairchild
Corp. v. Matsushita. Electric, 266 F.Bd 1358, 1360 (Fed. Cir.
2001)(reversing grant of summary judgment where district court had
failed to consider plaintiff's evidence that invention was reduced
to practice before patent was issued and before allegedly

invalidating reference was published).

An inventor can establish priority over a reference published
before he filed his patent if it is established that he “was first
to conceive the invention and that [he] exercised reasonable
diligence in later reducing that invention to practice." Murkar, 79
F.3d at 1577 (quoting Price v. Symsek, 988 F.2d 1187, 1190 (Fed.
Cir. 1993)). Both parties agree that the invention had been

constructively reduced to practice by December 30, 1986, when

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Brumfield filed the ‘917 application. See. e.c., Stevens v. Tamai,
366 F.3d 1325, 1330 (Fed. Cir. 2004)(citing Hyatt v. Boone, 146
F.3d 1348, 1352 (Fed. Cir. 1998)). The testimony of ea prior
inventor may be corroborated by physical records, other evidence
made at the time of the earlier invention, or oral testimony of
someone other than the inventor.10 gee Sandt Technoloqv, Ltd. v.
Resco Metal & Plastics Corp., 264 F.3d 1344, 1350-51 (Fed. Cir.
2001); Woodland Trust v. Flowertree Nursery, Inc., 148 F.3d 1368,

1371-73 (Fed. Cir. 1998).

Despite Synthes’s contention that Smith & Nephew has offered
“no evidence” about how or when Brumfield's invention was reduced
to practice, the evidence offered at trial suggests reasonable
diligence in prosecuting the patent application. .After sending his
record of invention to patent counsel on August 26, 1986, Brumfield
met with patent counsel, had conversations on the telephone with
patent counsel, and reviewed the patent application and made
Comments on it. (Tr. 2962:24-2963:2, 2963:2-3, 2963:20~21).
Synthes introduced no evidence that Brumfield abandoned or ceased
prosecuting the ‘917 patent from August 26 to December 30, 1986.
Thus, Synthes has not shown by clear and convincing evidence that

the German Utility Model is anticipatory prior art.

 

10The cited authority on corroborating evidence appears to govern cases
where an alleged infringer attempts to introduce evidence of prior invention
to challenge a duly issued patent. Because the situation is reversed in this
case, the requirements for corroborating evidence are arguably lower.
Nevertheless, the court will consider corroborating evidence of Brumfield's
prior invention and reasonable diligence.

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5. Marino Patent

The Marino patent discloses a femoral fracture fixation
assembly including an intramedullary rod, a side plate resembling
that included in a compression hip screw assembly, and a pair of
smooth-shafted screws that extend through oblique holes in the
extension piece and into the head of the femur. (TX 53, Column
2:31-67). The Marino patent discloses two differently sized
oblique openings through the intramedullary rod extension and,
correspondingly, two screws of different diameter that pass through
the Openings. (TX 53, Column 2:64-67; Tr. 1161112-1162:13, 1165:11-
24, 2506:18-2509:1). Synthes does not appear to argue, nor does
the court find, that the Marino patent itself anticipates or
renders obvious the patents in suit. The Marino patent discloses
an intramedullary rod combined with a side plate, the elimination
of which was one innovation of the patents in suit, and the claims
were specifically amended to overcome the Marino reference. (U.F.
6.47-48). Further, Synthes has not identified, nor can the court
locate, a specific feature in the Marino reference that would, in
combination with other references, anticipate or render obvious the

disputed claims.
6. Other Considerations

Carefully considering all of the evidence admitted at trial,
the court is unable to conclude that Synthes has offered clear and
convincing evidence under any of the proffered legal theories

sufficient to overturn the Patent Examiner's finding of validity.

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In determining the issue of obviousness, “[s]uch secondary
considerations as commercial success, long felt but unsolved needs,
failure of others, etc., might be utilized to give light to the
circumstances surrounding the origin of the subject matter sought
to be patented.” Graham v. John Deere Co., 383 U.S. 1, 17-18
(1966). At trial, Smith & Nephew offered evidence of the market
need for the products sold under the patents in suit, the
commercial success of those products, and the licenses taken under
the patents. (Tr. 328:2~330:16, 1376:18-1377:5, 3061:19-3062:3,
3345:17-3346:6). Although Synthes has effectively questioned the
relevance of the licenses taken and portions of the revenues
generated, the overall commercial success of the product line in
which the patented products played an integral role suggests the
patents' novelty and lack of obviousness, in light of the above
analysis. The court, therefore, finds the patents in suit valid

and enforceable.
III. Infringement

At trial, Smith & Nephew sought to prove that the long and
short versions of Synthes's PFN and TFN products infringe the ‘406
and ‘663 patents. “The party alleging infringement ... has the
burden of proving infringement by,a preponderance of the evidence."

Uniroval, Inc. v. Rudkin-Wilev Corp., 837 F.2d 1044, 1054 (Fed.

 

Cir. 1988). A patent is infringed if one or more claims it recites
is infringed. Advanced Cardiovascular Svs.. Inc. v. Scimed Life
Sys.l Inc., 261 F.3d 1329, 1336 (Fed. Cir. 2001). A patent claim

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is infringed literally if every element it recites is found in the
accused product or process. Rohm and Haas Co. v. Brotech Corp., 127
F.3d 1089, 1092 (Fed. Cir. 1997); Cole v. Kimberlv-Clark Corp., 102
F.3d 524, 532 (Fed. Cir. 1996). If a product does not meet the
literal language of each claim.element, it can still infringe under
the “doctrine of equivalents.” For mechanical devices, like those
at issue in this case, infringement would require that an element
in the accused product “perform substantially the same function in
substantially the same way to obtain substantially the same result”
as the allegedly infringed claim element. Graver Tank & Mfg. Co. v.
Line Air Products Co., 339 U.S. 605, 608 (1950); see also Warner-
Jenkinson Co., Inc. v. Hilton Davis Chemical Co., 520 U.S. 17, 39-
40 (1997)(holding that the Graver “triple identity” test is
suitable for applying the doctrine of equivalents to mechanical

devices).

Synthes's TFN product consists of an intramedullary rod (TX 1,
2, 3) that supports a cross-member called the Helical Blade (TX 12,
12B). The intramedullary rod of the TFN includes a wider upper
portion and a narrower lower portion designed to be implanted in
the medullary canal of the femur. (U.F. 6.53). The Helical Blade
is inserted at an angle into the head of the femur. The TFN is
intended to permit sliding compression of certain femoral
fractures, including intertrochanteric fractures. (U.F. 6.52; Tr.
643:16-23, 1555:11-15.) The TFN rod is cannulated along its length
and has an oblique opening' with_ a smooth surface, permitting

sliding compression. (Tr. 638:7-11.)

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In the 11 mm and 12 mm versions of the TFN, only the
transitional portion of the head wall is thicker than the stem
wall. (Tr. 763:15-764:22; TX 55.) In other versions, both the
transitional and non-transitional portions of the head are thicker
than the stem. The following versions of the TFN are “fluted,”
meaning that the outer diameter of a cross section of the stem is
variable: 1) all 235 mm length versions of the “short” TFN rod, and
2) the 11 and 12 mm versions of the “long” TFN rod. (TX 17; TX 13;

TX 3, respectively).

Synthes's PFN product (TX 17, 99) is an intramedullary implant
designed to treat fractures of the femur, including
intertrochanteric fractures. (U.F. 6.86.) The PFN includes an
intramedullary rod portion that is inserted.into the intramedullary
canal of a femur and two screws that pass through the
intramedullary rod and into the femoral head. Two openings are
provided at the upper portion of the intramedullary nail to
accommodate the two screws that extend through it at an oblique
angle. (TX 17, 99; U.F. 6.73.) The PFN is indicated for treating
intertrochanteric fractures. (U.F. 6.8; TX 18 at 3081.) PFN Model
Num.bers 473.130, 473.130.211, 473.121, 473.131.211, 473.132, and
473.132.211 are solid and non-cannulated. Smith & Nephew concedes
that these devices cannot infringe the ‘663 patent. which requires
a cannulated rod in all claims at issue. (Smith & Nephew Proposed

Findings of Fact 1 90.)

The court will examine the infringement issues under the

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framework in which they were presented at trial.
A. Whether the TFN Helical Blade Is a Screw

Synthes contends that the TFN product does not practice claim
1, and other dependent claims, of the ‘663 patent because the
Helical Blade inserted into the femoral head is not a “first screw
for insertion.” Synthes contends that the TFN does not practice
claim 1 of the ‘406 patent, and other dependent claims, for the
same reason. At the Markman hearing, Synthes argued that the
patent term “screw” should be confined only to those devices that
are inserted into the object medium by a torsional, or twisting,
force. This definition would not apply to the Helical Blade, which
is driven, or hammered, into place in the femoral head. The court
rejected that argument, however, concluding that it is the physical
structure, rather than the method of insertion, of a device that
determines whether it is a “screw” claimed by the patents in suit.
The patent phrase “first screw” was interpreted to mean “a
generally cylindrically-shaped simple machine of the inclined.plane

type, at least a portion of which is threaded.”

The Helical Blade of the TFN serves the function of engagement
and support of the femoral head, which is also served by the “first
screw for insertion” in the asserted patents. lt extends through
the oblique opening in the proximal portion of the intramedullary
rod and up into the femoral head. (TX 1-4, 12). Rather than
traditional screw threads that wind a nearly horizontal spiral up

the shaft of the screw, the Helical Blade possesses four threads,

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each. of which is uniquely' structured. and. has a lnore ‘vertical

(steeper) pitch.

The top thread of the Helical Blade starts with no height at
the tip of the device and gradually increases in height as it moves
from the tip to the distal end of the shaft. The taper of the top
thread reduces the potential for cut-out because there is no sharp
edge directed toward the top of the femoral head. (TX 12, 91; Tr.
1205:7-17, 1604:3-6, 1477:10-1478:4). The two side threads provide
a horizontal, paddle-like surface to carry loading and resist cut-
out. These two threads increase in thickness as they approach the
shaft of the device to aid in transferring loads to the shaft of
the Helical Blade. (TX 12, 91; Tr. 1478:5-24, 1604:6-17). The
bottom thread of the Helical Blade has a uniform thickness and
height along its length. It provides additional surface area for
engagement of bone in the head of the femur and contributes to the
overall bending strength and rotational stability of the Helical
Blade. (TX 12-13, 91; Tr. 1478:25-1479:17, 1604:18-22). Unlike a
traditional lag screw, the zero-height top thread and the two side
threads form a flat plane to receive loading, such that there are
no sharp edges against the loading force. This characteristic
helps to prevent the device from cutting out of the femoral head in
patients with softer bone. (TX 92-93; Tr. 787:1-788:1, 1482:21-

1483:10, 1610:10-1611:11).

Although Synthes has submitted credible evidence that the TFN

Helical Blade constitutes an improvement over the traditional lag

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screw included in the inventions sold under the patents in suit,
the issue before the court is whether the TFN Helical Blade
qualifies categorically as a “screw” as claimed by the patents in
suit. The physical structure of devices actually sold under the
patents does not limit the meaning of the claim language. gee
Uniroval, Inc. v. Rudkin~WileV Corp., 837 F.2d 1044, 1057-58 (Fed.
Cir. 1988)(“Adding features to an accused device will not result in
noninfringement if all the limitations in the claims. or
equivalents thereof, are present in the accused device”). After
careful consideration of all of the evidence admitted at trial, the
court concludes that the TFN Helical Blade is “a generally
cylindrically-shaped simple machine of the inclined plane type, at

least a portion of which is threaded.”

Synthes's primary argument directed at the claim language is
that the Helical Blade is not a “simple machine of the inclined
plane type” because the pitch of the threads is such that it
requires less force to drive the Helical Blade into the femoral
head than it would to rotate or twist it into the femoral head.
Because a simple machine is a device used to make work easier by
providing a mechanical advantage, Synthes contends that the
threads, or blades, are not configured so as to allow the Helical

Blade to function as a simple machine of the inclined plane type.

(Tr. 1440:209) .

Dr. Eric Gozna testified on behalf of Synthes that an inclined

plane makes work easier by allowing an object to be moved a given

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vertical distance using less force than would otherwise be
necessary. (TX 85; Tr. 1440:10-1441:25). A screw is a simple
machine of the inclined plane type because the thread of a screw is
an inclined plane wrapped around a cylindrical shaft. (TX 85; Tr.
1442:17-1443:9). The pitch of a screw is the distance between the
tips of the screw thread. The greater the pitch, the steeper the
inclined plane, and the less efficiently the device will work as a
simple machine of the inclined plane type. (TX 85; Tr. 1443:5-23).
As a screw is inserted into a material (in this case, bone), the
object material “rides up” the inclined plane, e.g., the screw
thread. The shape of the inclined plane (screw thread) is capable
of converting a torsional (or “horizontal”) input force into an
axial (or “vertical”) force advancing the screw into the material.
(TX 85; Tr. 1441:1-22). As the thread pitch is increased (i.e., as
the inclined plane gets steeper), the mechanical advantage of
applying a torsional force diminishes, until it requires less force
to advance the screw using a vertical (“driving”) force than using

a horizontal (“twisting”) force. (TX 85; Tr. 1444:23-1446:7).

Synthes's foregoing description of the manner in which a screw
functions as a simple machine of the inclined plane type is
accurate. The court cannot accept, however, the argument or
testimony that a screw ceases to be a “simple machine of the
inclined plane type” when the screw threads obtain a steepness at
which it is easier to drive the screw than to twist the screw.
Using the description offered by Synthes and accepted by the court,

an inclined plane does not cease to be an inclined plane because

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its steepness results in a failure to achieve some predetermined
level of efficiency. Offering a distinction between the respective
forces required in driving and twisting a screw is a sophisticated
way' of making the argument that was rejected in the Markman
hearing: that a “screw” is twisted into place and a “nail” is
driven into place. The mechanical advantage provided by an
inclined plane is measured by comparing the force parallel to the
inclined_plane with the purely vertical force required to overcome
gravity. (See TX 85, Demo. 3-4)(emphasis added). Mechanical
advantage is not measured, as Synthes contends, only by comparing
a purely horizontal, or in the case of a screw, torsional, force to

a purely vertical force.

The patent's definition of the term “screw” imposes no
limitations on the manner or ease with which the screw must be
inserted. (Markman Order at 14; Tr. 2984:7-2985:2, 2995:16~
2996:19). Two of Synthes's experts conceded that they were unaware
of any scientific literature, reference, or treatise to support
their opinions that the fundamental point of distinction between a
nail and a screw is whether the pitch of the threads makes it
easier to hammer or twist into the object material. (Tr. 1231:3-14,
1510:25-1512:1). More importantly, the patents in suit appear to

make no attempt to distinguish a “nail” from a “screw.”ll Seel e.g.,

 

]]The specification of the ‘663 patent states that “the apparatus may
further include means, such as a nail, screw or bolt, associated with the rod
for preventing rotation of the head of the femur relative to the first screw."
Column 3:30-39. Although this language separately references a “screw” and a
“nail,” it does not refer to the disputed “first screw for insertion," give
guidance as to what characteristics may distinguish a screw from a nail, or

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Phillips v. AWH Corp., 415 F.3d 1303, 1320 (Fed. Cir.
2005)(rejecting the “presumptionF in favor of dictionary
definitions announced in Texas Diqital Svstems. Inc. v. Teleqenix.

Inc., 308 F.3d 1193 (Fed. Cir. 2002), as giving inadequate weight

 

to the role of the specification in interpreting claim language).12
If the term “screw” were meant specifically to disclaim similar
prior art that employed a nail for insertion into the femoral head,
Synthes's proffered distinction would be nmre persuasive. The
evidence introduced at trial pertaining to “spiral nails” and
“drive screws” shows, if anything, that the terms “screw” and
“nail” may overlap, that they are not mutually exclusive. (See TX
42-43; Tr. 2996:20-2997:8, 3124:8-14). The question before the
court is only whether the Helical Blade qualifies as a screw as

defined in the ‘406 and ‘663 patents.

The Helical Blade qualifies as a “screw” as defined by the
court and claimed by the patents in suit. An examination of the
device clearly shows that it is “generally cylindrically shaped.”
(TX 12). The helical threads ease the insertion of the Helical
Blade into the head of the femur and provide a mechanical advantage
in retaining engagement of the femoral head when bone fragments are

squeezed together. (Tr. 1239:25-1240:13, 1418:25-1419:5, 1498:13,

 

suggest that “screw” and “nail” are mutually exclusive categories.

l2The Phillips decision emphasizes that dictionary definitions should
not be used to “divorc[e] the claim language from the specification.”
Phillips, 415 F.3d at 1324. Although the Markman opinion in this case relied
on dictionary definitions for guidance in construing certain terms, the court
employed extrinsic evidence only to decide what the disputed claim language
means to one skilled in the art, within the specific context of the patents in
suit.

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1498:25-1499:13). Thus, the TFN Helical Blade qualifies as “a
generally'cylindrically-shaped simple machine of the inclined plane

type, at least a portion of which is threaded.”

B. Whether the “Fluted" Devices Have a Uniform Stem Wall
Thickness

Claim 1(b) of the ‘663 patent discloses an intramedullary rod
with a sidewall “having a first, generally uniform smaller wall
thickness defining the stem, and a second, larger wall thickness
defining the head.” The court has defined the phrase “first,
generally uniform smaller wall thickness defining the stem” to mean
“the wall thickness of the stem is thinner than the wall thickness
of the head and that thickness does not vary significantly; the
thinner wall and the uniformity define the stem as distinct from
the head.” Several of Synthes's devices have a “fluted” stem
portion, meaning that the outer circumference of the stem resembles
that of the bit of a Phillips head screwdriver, rather than being
perfectly cylindrical.13 The fluted devices are as follows 1) all
240 mm length versions of the “standard” PFN rod, 2) all 235 mm
length versions of the “short” TFN rod, and 3) the 11 and 12 mm
versions of the “long” TFN rod. (TX 17; TX 13; TX 3, respectively).

Synthes claims that the fluted versions of the TFN and PFN do
not practice claim 1(b) of the ‘663 patent. The court agrees. The

fluted rods perform three functions not achieved by more

 

13 This analogy is not perfect. The fluted devices have six outer
“points” along the circumference of the stem, where a Phillips screwdriver has
only four.

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traditional cylindrical rods: 1) reduced stiffness, 2) improved
endosteal blood supply, and 3) decreased rotation of the rod within
the bone canal. (Tr. 634:25-635:15, 1642:14-1643:8). More
importantly, the fluted stem walls do not have a generally uniform
thickness; rather, their thickness varies significantly. The 235
mm length TFN rods have variances in stem wall thickness ranging
from 50% (between 2.7 mm and 1.8 mm) to 140% (3.25 mm to 1.35 mm).
(TX 2, 45; Tr. 446:4-16; Pretrial Stip. 6.63). The 11 mm and 12 mm
versions of the long TFN rod have variances in stem wall thickness
ranging from 253 (3.2 mm to 2.55 mm) to 55% (3.25 mm to 2.1 mm).
(TX 3, 45; Pretrial Stip. 6.68). An examination of the 240 mm
version of the PFN shows that its circumferential variance in stem
wall thickness is similar to that of the 11 mm and 12 mm versions
of the long TFN. The foregoing variances demonstrate that the
stem wall thickness of the fluted versions of the TFN and PFN are
not uniformly thick along their circumference so as to practice
claim 1(b) of the ‘663 patent. (Tr. 1642:3-13, TX 45). Further,
the fluted versions of the PFN and TFN vary in stem wall thickness
along their length. Each of the devices has a fluted and non~
fluted portion of the stem. In particular, the variation in wall
thickness between the unfluted and fluted portions along the length
of the stem of the fluted TFN and PFN rods is between 25% and 140%.
This variation is significant and inconsistent with claim 1(b) of
the ‘663 patent. (Tr. 445:19-447:18). Thus, the fluted TFN and PFN

rods do not infringe that patent.

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C. Whether Certain Versions of the TFN Have a “Larger Wall
Thickness Defining the Head”

The ‘663 patent claims an intramedullary rod with “a second,
larger wall thickness defining the head.” (Column 8:12-14.)
Similarly, claim 9 of the ‘406 patent recites a treatment method
using an intramedullary rod wherein “the side wall of the rod is
thicker at the head than the side wall of the rod at the distal
stem.” (Column 8:36.) The court has interpreted the limitation in
claim 1 of the ‘663 patent to mean “the wall thickness of the head
is thicker than the wall thickness of the stem; the thicker wall
defines the head as distinct from the stem.” (Markman Op. at 11.)
The head of the intramedullary rod is defined as the “[u]pper
portion of the intramedullary rod extending from the end closest to
the hip to the stem and includes any transitional wall thickness
leading up to the stem.” (Markman Op. at 11.) Smith & Nephew
sought to show at trial that every version of the TFN infringed

this element of the patents in suit.

The transitional portion in the head of every version of the
TFN rod is thicker than the corresponding stem wall. In its prior
summary judgment order, the court rejected Smith & Nephew’s
argument that the greater thickness in this transitional portion
alone made the TFN rods infringe the patents in suit, instead
holding that there was an issue of nwterial fact about which
portion or portions of the head wall were required by the patents

in suit to be thicker than the stem wall.

In describing the disadvantages of the prior art, the

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specification states that “[t]here is not sufficient mechanical
support to allow 'usage of the locking screw in the direction
towards the femoral head because the second pair of coaxial holes
weaken the nail when loaded in that direction.” U.S. Patent No.
5,167,663, Column 2:41-45. The application that became the patents
in suit was initially rejected in light of prior art, particularly
the Marino patent. After an interview that occurred on February
21, 1992, the Examiner noted that “Applicant has agreed to amend
the scope of the claims to more fully describe the proximal portion
to emphasize the coaxial bores and thickened wall portion for
better sliding;” (Petrial Stip. 6.46.)(emphasis added). The
proposed claims in the ‘663 patent were again rejected and, after
another interview, the Examiner concluded that “it appears the
suggested language overcomes the prior art.” (Pretrial Stip. 6.48.)

Brumfield, the applicant, thereafter filed a “Response to
Final Office Action,” in which claim 1 of the ‘663 patent was
amended to require a “hollowed” intramedullary rod and to claim
only an intramedullary rod with a “second, larger wall thickness
defining the head.” Brumfield argued that “the apparatus allows a
heavier load to be carried at the top of the rod due to the
thickened portion provided in the proximal head region. These
advantages were discussed with the Examiner during the recent
interview and have now been incorporated into the claims by these
amendments. The Marino device does not provide the thickened wall

portion as claimed.” (Pretrial Stip. 6.49.)

Brumfield’s ultimately successful argument to the Examiner

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invoked his earlier statements that a thickened head wall portion
would provide “better sliding.” Only a thicker portion where the
coaxial holes are located would provide for better sliding because
the proximal screws would have more surface area on which to slide.
This statement indicates that the head wall is meant to be thicker
at a portion through which the coaxial holes are bored, not at the
more distal transition portion between the head and stem. Thus, it
appears that the “thicker portion defining the head” does not

denote the transitional portion.

As noted in the order on motions for summary judgment, the
claim language in the patents in suit, read within the context of
the specification, is somewhat ambiguous as to which portion(s) of
the head wall must be thicker than the stem wall. In such
situations, the particular embodiments described in the
specification are particularly instructive. See Astrazeneca AB v.
Mutual Pharmaceutical Co.l Inc., 384 F.3d 1333, 1340 (Fed. Cir.
2004)(“the patentee's choice of preferred embodiments can shed
light on the intended scope of the claims”). In the specification
of each of the asserted.patents, the transition portion is shown to
be no thicker than the upper part of the head. (TX 20 at Fig. 3,
12; Tr. 461:23-463:6.) There is nothing in the specification or
prosecution history of the ‘663 patent that suggests that the
transition portion has or is meant to have a larger wall thickness
as opposed to the upper part of the head where the screw holes are
located. (Tr. 756:5-758:4.) Thus, it appears that the “greater

wall thickness defining the head” describes the proximal portion

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through which the holes are bored.

The evidence offered at trial further supports this
conclusion. Brumfield testified that downward weight-bearing
forces on the proximal screw engaging the femoral head would exert
a “cantilever” force on the intramedullary rod. Thus, the portions
of rod that must withstand primary forces are immediately below the
proximal hole nearest the femoral head and immediately above the
opposite proximal hole, not in the transitional portion of the

head. (Tr. 763:15-764:8; TX 54.)

Thus, the court concludes that those versions of the TFN in
which only the transitional portion of the intramedullary rod has
a thicker wall than the stem do not have a “greater wall thickness
defining the head” and, therefore, do not practice claim 1 of the
‘663 patent. Excluding the transitional portion, the head wall
thickness of all versions of the TFN rod is 3.175 mm. (Tr. 763:15-
764:22; TX 55.) For all 11 mm and 12 mm versions of the TFN, this
wall thickness is less than the wall thickness in the stem of the
rod. For the foregoing reasons, the court concludes that the 11 mm
and 12 mm versions of the TFN rod do not infringe the ‘663 patent,
and the use of those versions of the TFN to treat intertrochanteric
fractures does not infringe claim 9 of the ‘406 patent, which
describes a device in which “the side wall of the rod is thicker at

the head than the side wall of the rod at the distal stem.”

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D. Whether the TFN and PFN Actively Compress Fractures by
Means of a Bone Screw

The ‘406 patent claims a method of treating intertrochanteric
fractures that includes the step of “compressing the fracture using
the bone screw." (Column 8:17-20.) The court has interpreted this
phrase to mean “squeezing together the fractured bone fragments by
means of aa screw." In the summary judgment order, the court
concluded that this claim would cover “a compression method in
which a screw is inserted into the area of a fracture without
changing the position of any bone fragments, and a doctor rotates
a nut around the screw to squeeze bone fragments together.” (Order
at 16.) At trial, Synthes requested reconsideration. of this
conclusion. Smith & Nephew claims that the method of using the TFN
and PFN to treat intertrochanteric fractures violates claim 1(e) of

the ‘406 patent.

At trial, Synthes reasserted the argument that it had made in
favor of summary judgment: that the TFN and PFN do not practice
this claim because compression does not occur simply by rotating
the screw but instead requires the use of specially-designed,
additional instruments. In support, Synthes points to the Recon
Nail, the invention produced and sold by Smith & Nephew under the
‘406 patent. The only way for a surgeon using the Recon Nail to
actively squeeze the bone fragments together (“active compression”)
is by continuing to tighten the lag screw inserted into the femoral
head after the shoulder of the screw abuts the lateral cortex of

the femur. (Tr. 365:23-366:23; TX 33.) The ‘406 specification

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discloses a similar method: “A hexagonally-shaped inset 52 in the
head portion permits insertion of a suitable tool for compression
of lag screw 50.... A hexagonal screwdriver or any suitable tool
can be used to compress lag screw 50, 250 to a desired degree.”
(Column 5:18-21, 7:14-16.) Once the head-portion of the screw
contacts the lateral cortex of the femur, additional turning of the
screw will cause the threads to draw the opposed fracture surfaces

together. (Tr. 810:11-813:8, 815:23-816:21, 3086:2-3087:8.)

A patent claim will not necessarily be limited to a preferred
embodiment or the particular product sold under the patent. §§eL
e.q., Nazomi Communications, Inc. v. ARM Holdings, PLC, 403 F.3d
1364, 1369 (Fed. Cir. 2005). Nevertheless, the embodiments cited
by Synthes demonstrate that the method of active compression
claimed in the ‘406 patent is not as narrow as Synthes argues. The
embodiments rely on more than the screw itself to achieve the
active compression claimed by the patent, each citing the need for
“a suitable tool” to turn the screw. (Column 5:18~21, 7:14-16.)
The Recon. Nail and the TFN and PFN, therefore, require more
equipment than “just the screw” to achieve active compression.
Synthes' distinction appears to be that the Recon Nail and the ‘406
specification anticipate active compression by rotating the screw

and the TFN and PFN em lo the screw14 onl as an anchorin means.
P Y Y 9

When using the TFN device, a surgeon may compress a fracture

 

14The courtl above, has found that the Helical Blade is a “screw” under
the ‘406 and ‘663 patents.

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by twisting the Buttress/Compression Nut (TX 9) around the Blade
Guide Sleeve (TX 7), which is abutted against the handle of the
Helical Blade Inserter (TX 11), which is in turn abutted against
the coupling screw connected to the Helical Blade. All of these
items must move in order to achieve active interfragmentary
compression using the TFN. (Tr. 1669:17-1670:3, 1766:21-1768:24.)
The PFN uses a similar mechanisnl to actively compress bone
fragments. That these mechanisms have more physical components
than those used by the Recon Nail or a traditional compression hip
screw system does not mean that they avoid the claimed step of
“compressing the fracture using the bone screw." A compression
mechanism in which a screw plays an indispensable role compresses
the fracture “by means of a screw." This mechanism may use only an
intramedullary rod, a screw, and a screwdriver, or it may, like the
TFN and PFN, be more complex. Thus, using the TFN and PFN to
actively compress intertrochanteric fractures practices the claimed

method of “compressing the fracture using the bone screw."
IV. Conclusion
A. ‘406 Patent

The ‘406 patent claims a “method of treating intertrochanteric
fractures£’ Use of the either of the inventions in question,
therefore, for purposes other than the treatment of

intertrochanteric fractures does not infringe the ‘406 patent.

l. TFN

After consideration of the evidence and arguments presented at

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trial, the court concludes that the use of the TFN' to treat
intertrochanteric fractures practices all of the elements of claims
1, 2, and 3 of the ‘406 patent. Because they do not have “a
greater wall thickness defining the head,” use of the 11 mm and 12
mm versions of the TFN does not practice cladn 9 of the ‘406
patent. Use of other versions of the TFN presented at trial

infringes claim 9 of the ‘406 patent.
2. PFN

PFN Model Numbers 473.130, 473.130.211, 473.121, 473.131.211,
473.132, and 473.132.211 are solid and non-cannulated. Thus, they
cannot infringe claUn 9 of the ‘406 patent, which requires a
“longitudinal bore surrounded by an intramedullary side wall.” The
court concludes that use of all versions of the PFN to treat
intertrochanteric fractures practices all of the elements of claims
1-3, 5-7 of the ‘406 patent, and use of all but the above-described

models infringes claim 9 of the ‘406 patent.
B. ‘663 Patent
1. TFN

After consideration of the evidence and argument offered at
trial, the court concludes that the fluted versions of the TFN
(e.g., TX 1-2) do not infringe the ‘663 patent because they lack a
“generally uniform stem wall thickness.” Likewise, the 11 mm and
12 mm versions of the TFN do not infringe because they lack a
“larger wall thickness defining the head.” Remaining versions of

the TFN infringe claims 1-3 and 5 in the ‘663 patent.

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2. PFN

PFN Model Numbers 473.130, 473.130.211, 473.121, 473.131.211,
473.132, and 473.132.211 are solid and non-cannulated. Thus, they
cannot infringe the ‘663 patent, which claims a cannulated
intramedullary rod. Fluted versions Of the PFN - all 240 mm length
“Standard” versions (e.g., TX 17) - do not infringe the ‘663 patent
because they' lack a “generally uniform stem wall thickness.”
Remaining versions of the PFN infringe claims 1-3 and 5 of the ‘663

patent.

As described above, certain of Synthes' inventions infringe
the patents in suit. Therefore, the trial will proceed to the

determination of damages.

so ORDERED this 14 h`day of August 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Thomas P. Scully
222 East 41 st Street
NeW York7 NY 10017

Mark Vorder-Bruegge

WYATT TARRANT & COi\/[BS
P.O. Box 775000

1\/1emphis7 TN 38177--500

Albert C. Harvey

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/1emphis7 TN 38103--552

HoWard I. Shin

JONES DAY

222 East 41 st St.

NeW York7 NY 10017--670

J ames E. Conley

SPICER FLYNN & RUDSTROM-Memphis
80 Monroe Ave.

Ste. 500

1\/1emphis7 TN 38103--246

Susan A. Cahoon
KILPATRICK STOCKTON
1100 Peachtree St.

Ste. 2800

Atlanta, GA 30309--453

Brian M. Poissant

JONES DAY

222 East 41 st St.

NeW York7 NY 10017--670

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Stephen E. Baskin

KILPATRICK STOCKTON7 LLP
607 Fourteenth St.7 N.W.

Ste. 900

Washington, DC 20005

J ames R. Myers

KILPATRICK STOCKTON7 LLP
607 Fourteenth St.7 N.W.

Ste. 900

Washington, DC 20005

Kenneth A. Godlewski
KILPATRICK STOCKTON7 LLP
607 Fourteenth St.7 N.W.

Ste. 900

Washington, DC 20005

Brian M. Rothery

JONES DAY

222 East 41 st St.

NeW York7 NY 10017--670

Timothy R. Johnson

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

1\/1emphis7 TN 38103

J ames L. EWing
KILPATRICK STOCKTON
1100 Peachtree St.

Ste. 2800

Atlanta, GA 30309--453

Glen G. Reid

WYATT TARRANT & COi\/[BS
P.O. Box 775000

1\/1emphis7 TN 38177--500

Honorable Samuel Mays
US DISTRICT COURT

